        3:12-cv-02976-CMC            Date Filed 10/15/12   Entry Number 1        Page 1 of 6




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION
                                                   :
Lorraine Corbin,                                   :
                                                   :
                        Plaintiff,                                     3:12-2976-CMC
                                                   : Civil Action No.: ____________
        v.                                         :
                                                   : COMPLAINT AND DEMAND FOR
Commercial Recovery Systems, Inc.; and             : JURY TRIAL
DOES 1-10, inclusive,                              :
                                                   :
                        Defendants.                :
                                                   :


        For this Complaint, the Plaintiff, Lorraine Corbin, by undersigned counsel, states as

follows:

                                           JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) and the invasions of Plaintiff’s

personal privacy by the Defendant and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.
      3:12-cv-02976-CMC          Date Filed 10/15/12       Entry Number 1        Page 2 of 6




                                            PARTIES

       4.      The Plaintiff, Lorraine Corbin (“Plaintiff”), is an adult individual residing in

Lexington, South Carolina, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

       5.      Defendant Commercial Recovery Systems, Inc. (“CRS”), is a Texas business

entity with an address of 8035 R.L. Thornton Freeway, Suite 220, Dallas, Texas 75228,

operating as a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. §

1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by CRS and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      CRS at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      The Plaintiff allegedly incurred a financial obligation in the approximate amount

of $300.00 (the “Debt”) to Washington Mutual (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under 15

U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to CRS for collection, or CRS

was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).




                                                 2
       3:12-cv-02976-CMC          Date Filed 10/15/12       Entry Number 1       Page 3 of 6




   B. Commercial Engages in Harassment and Abusive Tactics

       12.     Within the last year, Defendants placed numerous calls to Plaintiff’s in-laws and

stated that Plaintiff owed a Debt and disclosed information regarding the nature of the Debt.

       13.     Furthermore, in these conversations, Defendants threatened to garnish the wages

of Plaintiff’s in-laws and threatened to place a lien on their property.

       14.     On at least one occasion, Plaintiff called Defendants and requested that they cease

the calls to Plaintiff’s in-laws regarding the Debt.

       15.     Despite Plaintiff’s request, Defendants continued to place calls to Plaintiff’s in-

laws and continued to disclose information regarding the nature of the Debt.

       16.     Defendants also placed two calls to Plaintiff’s cellular phone.

       17.     In messages left on Plaintiff’s cell phone, Defendants threatened to garnish

Plaintiff’s wages. Defendant had no present ability to affect an immediate garnishment without

first providing Plaintiff with the proper notices as required by law.

       18.     In these messages, Defendants also threatened to proceed “further with litigation,”

insinuating that legal action had been or would be taken imminently. No such legal action has

been taken to date.

       19.     Defendants also condescendingly stated that they knew Plaintiff was having

“money problems.”

       20.     In calls placed to Plaintiff, Defendants failed to identity the name of its company

and failed to state that they were calling in an attempt to collect a debt.

       21.     Furthermore, Defendants failed to send Plaintiff written validation of the Debt.




                                                   3
        3:12-cv-02976-CMC         Date Filed 10/15/12       Entry Number 1        Page 4 of 6




   C. Plaintiff Suffered Actual Damages

        22.    The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

        23.    As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

                                  COUNT I
         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT –
                            15 U.S.C. § 1692, et seq.

        24.    The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        25.    The Defendants contacted third parties and failed to identify themselves and

further failed to confirm or correct location information, in violation of 15 U.S.C. § 1692b(1)

and/or 1692c(b).

        26.    The Defendants informed third parties of the nature of Plaintiff’s debt and stated

that the Plaintiff owed a debt, in violation of 15 U.S.C. § 1692b(2).

        27.    The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

        28.    The Defendants’ conduct violated 15 U.S.C. § 1692d(6) in that Defendants placed

calls to the Plaintiff without disclosing the identity of the debt collection agency.

        29.    The Defendants’ conduct violated 15 U.S.C. § 1692e in that Defendants used

false, deceptive, or misleading representation or means in connection with the collection of a

debt.



                                                  4
       3:12-cv-02976-CMC           Date Filed 10/15/12        Entry Number 1        Page 5 of 6




        30.     The Defendants’ conduct violated 15 U.S.C. § 1692e(4) in that Defendants

threatened the Plaintiff with garnishment if the debt was not paid.

        31.     The Defendants’ conduct violated 15 U.S.C. § 1692e(5) in that Defendants

threatened to take action that could not legally be taken or that was not intended to be taken.

        32.     The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

        33.     The Defendants’ conduct violated 15 U.S.C. § 1692e(11) in that Defendants failed

to inform the consumer that the communication was an attempt to collect a debt.

        34.     The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair and unconscionable means to collect a debt.

        35.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a) in that Defendants failed

to send Plaintiff an initial letter within five days of its initial contact with Plaintiff as required by

law.

        36.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

        37.     The Plaintiff is entitled to damages as a result of Defendants’ violations.

                                       PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

                    1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the Defendants;

                    2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                        against the Defendants;

                    3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

                        1692k(a)(3);



                                                    5
      3:12-cv-02976-CMC        Date Filed 10/15/12        Entry Number 1         Page 6 of 6




                 4. Actual damages from the Defendants for all damages including emotional

                    distress suffered as a result of the intentional, reckless, and/or negligent

                    FDCPA violations;

                 5. Punitive damages; and

                 6. Such other and further relief as may be just and proper.

                    TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: October 15, 2012

                                            Respectfully submitted,

                                            By /s/ Brian J. Headley

                                            Brian J. Headley, Attorney at Law
                                            District of South Carolina Bar ID No. 11427
                                            145 Historic Drive
                                            Mount Pleasant, SC 29464
                                            Telephone: (855) 301-2100 Ext. 5532
                                            Facsimile: (888) 953-6237
                                            bjheadley@yahoo.com
                                            bheadley@lemberglaw.com

                                            Of Counsel To
                                            Sergei Lemberg
                                            LEMBERG & ASSOCIATES L.L.C.
                                            A Connecticut Law Firm
                                            1100 Summer Street, 3rd Floor
                                            Stamford, CT 06905
                                            Telephone: (203) 653-2250
                                            Facsimile: (888) 953-6237




                                                6
